Case: 1:20-cv-05124 Document #: 35-2 Filed: 11/16/20 Page 1 of 17 PageID #:768




                          Exhibit 2
Case: 1:20-cv-05124 Document #: 35-2 Filed: 11/16/20 Page 2 of 17 PageID #:769
Case: 1:20-cv-05124 Document #: 35-2 Filed: 11/16/20 Page 3 of 17 PageID #:770
Case: 1:20-cv-05124 Document #: 35-2 Filed: 11/16/20 Page 4 of 17 PageID #:771
Case: 1:20-cv-05124 Document #: 35-2 Filed: 11/16/20 Page 5 of 17 PageID #:772
Case: 1:20-cv-05124 Document #: 35-2 Filed: 11/16/20 Page 6 of 17 PageID #:773
Case: 1:20-cv-05124 Document #: 35-2 Filed: 11/16/20 Page 7 of 17 PageID #:774
Case: 1:20-cv-05124 Document #: 35-2 Filed: 11/16/20 Page 8 of 17 PageID #:775
Case: 1:20-cv-05124 Document #: 35-2 Filed: 11/16/20 Page 9 of 17 PageID #:776
Case: 1:20-cv-05124 Document #: 35-2 Filed: 11/16/20 Page 10 of 17 PageID #:777
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